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                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

IN RE:                                                     )
                                                           )
INTERSTATE UNDERGROUND WAREHOUSE                           )
     AND INDUSTRIAL PARK, INC.                             )       Case. No. 21-40834
                                                           )       Chapter 11
                               Debtor.                     )

                            OBJECTION TO AMENDED CLAIM #34

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Amended Proof of Claim filed by creditor Wayne Reeder, in the amount
of $4,750,000.00. Wayne Reeder has amended his Proof of Claim three times after the original
Proof of Claim was filed.

         The first Proof of Claim was originally filed on December 2, 2021. The Movant filed an
Objection to the Claim on December 30, 2021. Thereafter, Wayne Reeder filed a first amended
Proof of Claim on January 31, 2022. Then, on February 15, 2022, Wayne Reeder, through his
first attorney Colin Gotham, filed a second amended Proof of Claim and amended his Proof of
Claim to $0. Finally, on March 29, 2022, Wayne Reeder filed his fourth amended Proof of Claim
and amended his Proof of Claim back to $4,750,000.

        After a hearing on March 29, 2022, in which the Court took up Wayne Reeder’s Motion
to Quash the proposed 2004 Examination of Wayne Reeder (which the Court denied), Wayne
Reeder amended his Proof of Claim again back to the $4,750,000 that was claimed in the
original filing. At the hearing on March 29, 2022, the Court inquired as to what claim Wayne
Reeder held as the Court was interested in knowing what stake Wayne Reeder had in these
proceedings and suggested that if he had no stake, he may not have standing to object in this
case.

        The 2004 Examination was continued for the third time to March 30, 2022 and Wayne
Reeder failed to appear for the fourth (4th) scheduled 2004 Examination. Movant’s counsel has
not received any documents attempting to excuse Wayne Reeder’s non-appearance.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney if you have one.

   Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
   Objection in which to file a Response if you do not want the court to eliminate or change your
   claim. The Response shall be in writing and state why the claim should be allowed as filed.
   If a Response is filed, the Court will schedule a hearing. If no timely Response is filed, the
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    Court will enter an Order sustaining the Objection to the Claim. Parties not represented by an
    attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400 E. 9th St., Room
    1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney must be served a
    copy of the Response by regular mail. If your Response is mailed, it must be early enough so
    that the court will receive it on or before 30 days after service of the Objection.

The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
BOXES)

☒      The claim should be disallowed entirely for the following good and sufficient reasons:

    (a) Pursuant to RSMO Section 400.003.118(b), the collection of the Note (attached to the
        Amended Proof of Claim #34), which Note is dated October 20, 2003, and which appears
        to be a demand Note, is barred by the Missouri statute of limitations which was ten (10)
        years from the date of the Note as no demand was ever made upon the Debtor or Sammy
        Jo Reeder (the sole shareholder). The Note does not waive presentment and no
        presentment was made to the Debtor or Sammy Jo Reeder. Wayne Reeder could not have
        made demand upon himself as he was not an officer or director of the Movant (Debtor) as
        set out in (b) below. In the Jackson County case of Wayne Reeder v. Sammy Jo Reeder et
        al., Case No. 2016-CV12471, Wayne Reeder brought suit, among other claims, for the
        alleged Note. In his answer to discovery, when asked for documents that “consist of or
        relate to the demand alleged in paragraph 34 of the petition”, Mr. Reeder responded
        “Plaintiff does not have any responsive documents at this time. Pursuant to his duty to
        supplement these responses, Plaintiff will produce any responsive documents that come
        into his possession”. The Response to Defendants’ Request for Production of Documents
        was served on February 15, 2021. The Note was not produced and no documents were
        provided to evidence demand of the Note. No documents evidencing demand upon the
        Debtor was included in the Proof of Claim #34.

    (b) The Claimant Wayne Reeder allegedly executed the Note as “President and Manager”.
        According to the Missouri Secretary of State, the President of the Movant (Debtor) on
        October 20, 2003 (date of alleged Note) was Sammy Jo Reeder. Further, Sammy Jo
        Reeder was the only Director and Shareholder on that date. Claimant Wayne Reeder had
        no authority to execute said Note on behalf of the Movant (Debtor).

    (c) Claimant Wayne Reeder has testified under oath in other proceedings (Bird’s Botanicals,
        Inc. v. IUW, Case No. 1816-CV29012, Circuit Court of Jackson County, Missouri) that
        Sammy Jo Reeder is the 100% shareholder, that he was not an employee, that he was a
        consultant without a written consulting agreement, that he worked for free, and that he
        was not paid as a consultant.
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   (d) Claimant Wayne Reeder was convicted of felonies in Rhode Island in USA v. Reeder
       (1993 case). He was ordered to pay restitution. In connection with that conviction, he is
       required to report to the federal government. On or about July 17, 2018, he prepared and
       signed a Financial Statement to the USDOJ that stated that he was retired, that he did not
       own any interest in any closely held businesses, and that he was not owed any money by
       any entities. Under his signature on the Financial Statement, it is printed “False
       Statements are punishable up to five years in prison or a fine of $250,000 or both (18
       USC Section 1001).” Thus, he is not owed any monies as a result of salary, consulting
       fees or commissions nor is he owed any monies for loans extended as confirmed by his
       oral testimony and written documents under oath.

   (e) Wayne Reeder should be barred from making yet another amendment of his Proof of
       Claim from $0 to $4,750,000 as the amendment to $0 was filed once an objection to the
       Proof of Claim was pending. Further, Wayne Reeder is apparently now changing his
       claim to something other than $0 to avoid this Court making a finding that he lacks
       standing to further disrupt and interfere in these proceedings. Further, as a result of his
       failure and refusal to appear and give testimony at a 2004 Examination, Wayne Reeder’s
       claim should be barred.



Dated: 3/31/2022                                     KRIGEL & KRIGEL, P.C.


                                                      /s/ Erlene W. Krigel
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                                                     4520 Main St., Ste. 700
                                                     Kansas City, MO 64111
                                                     Telephone: (816) 756-5800
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                                                     ATTORNEYS FOR DEBTOR
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                                    CERTIFICATE OF SERVICE

I Erlene Krigel hereby certify that a true and correct copy of the Objection to Claim was mailed
to Wayne Reeder as set forth below, by email to Ryan Blay, Counsel for Wayne Reeder, and by
first class mail this 31st day of March, 2022: to

Wayne Reeder
800 NW Argosy Parkway
Riverside, MO 64150


And to all other parties in interest and creditors listed on the Court’s ECF noticing system.


Dated: 3/31/2022                                                    /s/ Erlene W. Krigel
                                                                    Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties

ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
